Case 2:12-md-02327 Document 4220 Filed 07/21/17 Page 1 of 6 PageID #: 144120




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION

IN RE:      ETHICON, INC.,
            PELVIC REPAIR SYSTEM
            PRODUCTS LIABILITY LITIGATION                                       MDL No. 2327
                                                                                           ______

THIS DOCUMENT RELATES TO:

Wave 3 cases identified in Exhibit A attached hereto

                                               ORDER

        Pending before the court is the plaintiffs’ Motion to Strike the Dr. Shelby F.

Thames’s Supplemental Reports or, in the Alternative, for Leave to File a Daubert

Motion [ECF No. 2883]. Ethicon filed its Response [ECF No. 3022]. The plaintiffs’

Motion requests exclusion of Dr. Thames’s second supplemental report but also

requests that the court, in the alternative, allow them additional time to depose Dr.

Thames. For the reasons detailed below, the plaintiffs’ Motion is GRANTED in part

and the second supplemental report is STRICKEN as to the cases in Exhibit A. 1

Insofar as the plaintiffs request additional time for Daubert briefing, the Motion is

DENIED.




1
 On Exhibit A, I have marked through cases that are closed, on the inactive docket, not in Wave 1,
could not be identified because of an error in the style or case number, or assigned to another District
Judge.
Case 2:12-md-02327 Document 4220 Filed 07/21/17 Page 2 of 6 PageID #: 144121




I.    Background

      Pursuant to the Wave 3 Docket Control Order [ECF No. 1824] (“Docket Control

Order”), Ethicon was required to disclose its experts (and their opinions) on or before

August 2, 2016. The parties agreed to extend this disclosure deadline to August 8,

2016. Docket Control Order 1; Mot. Strike 1 n.1 [ECF No. 2883]. Discovery closed on

August 30, 2016. Id. Further, all Daubert briefing was to be completed by October 17,

2016, with Daubert motions due September 19, 2016. Id. In the plaintiffs’ Wave 1

Daubert motion on Dr. Thames, they questioned the reliability of Dr. Thames’s

explant cleaning protocol. Mem. Supp. Mot. Exclude Ops. Dr. Thames 8–10 [ECF No.

2042]. It was this argument that prompted the design and execution of a new

experiment to test the reliability of his cleaning protocol, to buttress the strength and

reliability of his prior opinion. Mot. Strike Ex. C, at 1 [ECF No. 2883-3] (“First

Supplemental Report”). Ethicon timely disclosed Dr. Thames as an expert, along with

his initial expert report and First Supplemental Report on August 8, 2016. Ethicon

served the Second Supplemental Report with the formal conclusions on September

28, 2016. See Mot. Strike Ex. D, at 1 [ECF No. 2883-4] (“Second Supplemental

Report”). The Second Supplemental Report was served after the disclosure deadline,

motion deadline, and close of discovery.

      The plaintiffs argue for exclusion under Rule 37(c) on the grounds that the

Second Supplemental Report was untimely served. Mot. Strike 2–3. Ethicon does not

dispute that the report was untimely served and responds that its delayed disclosure




                                           2
Case 2:12-md-02327 Document 4220 Filed 07/21/17 Page 3 of 6 PageID #: 144122




was justified and harmless. Ethicon focuses its attention on the five-factor test from

Hoyle v. Freightliner, LLC, 650 F.3d 321, 329 (4th Cir. 2011). See generally Resp.

II.   Analysis

      Pursuant to Rule 37(c) of the Federal Rules of Civil Procedure,

      If a party fails to provide information or identify a witness as required
      by Rule 26(a) or (e), the party is not allowed to use that information or
      witness to supply evidence on a motion, at a hearing, or at a trial, unless
      the failure was substantially justified or is harmless.

According to the Fourth Circuit, the appropriate factors to consider in determining

whether to sanction a party under Rule 37(c) are the following:

      (1) the surprise to the party against whom the witness was to have
      testified; (2) the ability of the party to cure that surprise; (3) the extent
      to which allowing the testimony would disrupt the trial; (4) the
      explanation for the party's failure to name the witness before trial; and
      (5) the importance of the testimony.

Hoyle, 650 F.3d at 329.

      I am simply unable to find that Ethicon’s late disclosure of Dr. Thames’s

Second Supplemental Report was substantially justified. Dr. Thames has a

longstanding relationship with Ethicon, and Ethicon has provided no reason why this

testing could not have been done prior to the disclosure of the initial expert report.

Essentially, because the plaintiffs questioned the reliability of Dr. Thames’s protocol,

Ethicon decided to bolster its case by having Dr. Thames perform more testing of the

testing. In essence, the First and Second Supplemental Reports are atonement for

initial inadequacies or incomplete preparation. However, I must also evaluate

whether the late disclosure of the Second Supplemental Report was nevertheless

harmless before I can determine whether sanctions are appropriate.


                                           3
Case 2:12-md-02327 Document 4220 Filed 07/21/17 Page 4 of 6 PageID #: 144123




      The plaintiffs’ arguments do not support a finding of surprise. Although the

plaintiff attacked the adequacy of Dr. Thames’s cleaning protocol in their Daubert

motion, they had reason to suspect that the Second Supplemental Report would

arrive late because the First Supplemental Report put plaintiffs on notice. See First

Supplemental Report at 12 (“[T]hat data will be reported when complete.”).

Nevertheless, both parties have agreed to allow additional time for Daubert briefing

should the reports not be excluded. Thus, the ability to cure any surprise weighs in

favor of permitting the reports.

      I recognize that a trial date has not been set in this case, and I also recognize

that any harm to the plaintiffs regarding this matter may be easily remedied by

allowing them to have additional time to depose Dr. Thames. However, I must be

particularly cognizant of the realities of multidistrict litigation and the unique

problems an MDL judge faces. Specifically, when handling seven MDLs, each

containing thousands of individual cases, case management becomes of utmost

importance. See In re Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1231

(9th Cir. 2006) (emphasizing the “enormous” task of an MDL court in “figur[ing] out

a way to move thousands of cases toward resolution on the merits while at the same

time respecting their individuality”). I must define rules for discovery and then

strictly adhere to those rules, with the purpose of ensuring that pretrial litigation

flows as smoothly and efficiently as possible. See id. at 1232 (“[T]he district judge

must establish schedules with firm cutoff dates if the coordinated cases are to move

in a diligent fashion toward resolution by motion, settlement, or trial.”); see also Fed.



                                           4
Case 2:12-md-02327 Document 4220 Filed 07/21/17 Page 5 of 6 PageID #: 144124




R. Civ. P. 1 (stating that the Federal Rules of Civil Procedure “should be construed

and administered to secure the just, speedy, and inexpensive determination of every

action and proceeding”). In turn, counsel must collaborate with the court “in

fashioning workable programmatic procedures” and cooperate with these procedures

thereafter. In re Phenylpropanolamine, 460 F.3d at 1231–32. Pretrial orders—and

the parties’ compliance with those orders and the deadlines set forth therein—“are

the engine that drives disposition on the merits.” Id. at 1232. A “willingness to resort

to sanctions” in the event of noncompliance can ensure that the engine remains in

tune, resulting in better administration of the vehicle of multidistrict litigation. Id.;

see also Freeman v. Wyeth, 764 F.3d 806, 810 (8th Cir. 2014) (“The MDL judge must

be given ‘greater discretion’ to create and enforce deadlines in order to administrate

the litigation effectively. This necessarily includes the power to dismiss cases where

litigants do not follow the court’s orders.”).

       The fourth factor, importance of the testimony, also weighs in favor of striking

the reports. The Second Supplemental Report is twelve pages long, whereas the

original report is 132 pages long. The testimony contained in the reports does not go

to the heart of the case, but instead serves only to enforce the reliability of Dr.

Thames’s cleaning protocol. I cannot find that the Second Supplemental Report is

crucial to either side’s case.

III.   Conclusion

       Accordingly, the plaintiffs’ Motion to Strike the Dr. Shelby F. Thames’s

Supplemental Reports or, in the Alternative, for Leave to File a Daubert Motion [ECF



                                             5
Case 2:12-md-02327 Document 4220 Filed 07/21/17 Page 6 of 6 PageID #: 144125




No. 2882] is GRANTED in part and the Second Supplemental Report is hereby

STRICKEN. Insofar as the plaintiffs request additional time for Daubert briefing, the

Motion is DENIED.

      The court DIRECTS the Clerk to send a copy of this Order to counsel of record

and any unrepresented party.

                                                    ENTER: July 21, 2017




                                         6
